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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                         01/12/2021
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JASON MASON,

                                                Plaintiff,                        19-CV-5450 (VSB) (KHP)

                             -against-                                                   ORDER


CITY OF NEW YORK, et al.,

                                                 Defendants.
-----------------------------------------------------------------X
KATHARINE H. PARKER, United States Magistrate Judge:

         The Court is in receipt of Plaintiff Jason Mason’s letter at ECF No. 64, dated January 5,

2011, in which Plaintiff informs the Court that he does not have a middle name, and that his

name as it appears on the docket—Jason Hiram Mason—is incorrect. The Court has conducted

its own review of the record and does not see a middle name of Plaintiff, or the name “Hiram,”

anywhere other than as the Plaintiff’s name on ECF. As such, the Clerk of Court is kindly

directed to edit Plaintiff’s name on the electronic docket to “Jason Mason.”

         The Clerk of Court is respectfully requested to mail a copy of this Order to:

         Jason Mason
         Holiday Inn Express LaGuardia
         113-10 Horace Harding Expressway
         Room 615
         Queens, NY 11368

         SO ORDERED.

DATED:             New York, New York
                   January 12, 2021

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
